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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NORTH DAKOTA
                                  EASTERN DIVISION

LuAnne Janssen, as Personal Representative
of the Estate of Warren S. Lindvold,             Case No. 3:19-cv-79

              Plaintiff,

v.                                                   STIPULATION FOR
                                                   EXTENSION OF TIME TO
City of Valley City,                              SERVE AND FILE ANSWER
Christopher Olson,                                ON BEHALF OF NATIONAL
Wade Hannig,                                      MEDICAL RESOURCES, INC.
Barnes County,
Barnes County Sheriff Randy McClaflin,
Jenna Jochim,
Richard Chase,
Bruce Potts,
Jesse Burchill,
Barnes County Ambulance, Inc.,
National Medical Resources, Inc.
Mercy Hospital of Valley City d/b/a CHI
Mercy Health,

              Defendants.


       The defendant, National Medical Resources, Inc., and the plaintiff, LuAnne Janssen,

as Personal Representative of the Estate of Warren S. Lindvold, by and through counsel,

stipulate and agree that National Medical Resources, Inc. shall have until July 19, 2019 to

serve and file their answer and accompanying defenses to the plaintiff’s complaint in the

above captioned case.
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Dated this 8 day of July, 2019.

                                  VOGEL LAW FIRM


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                                  ATTORNEYS FOR DEFENDANT NATIONAL
                                  MEIDCAL RESOURCES, INC.


Dated this 8 day of July, 2019.

                                  AALAND LAW OFFICE


                                  /s/ Rachel M. Gehrig
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